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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

SHAMIEKA PIERRE                             *                      CIVIL ACTION

VERSUS                                      *                      NO. 21-1043

WELLPATH, LLC, ET AL.                       *                      SECTION “L” (2)


                                            ORDER

       Before the Court are two Reports and Recommendations by the Magistrate Judge. R. Docs.

26, 32. First, as to the Report and Recommendation regarding Wellpath, LLC’s Motion for Partial

Dismissal, R. Doc. 26, the Court has reviewed the complaint; the parties’ memoranda, including

Plaintiff’s response consenting to the dismissal of Count 4 of her complaint; and the applicable

law. Noting that no objection has been filed to the Report and Recommendation, the Court

approves the Magistrate Judge’s Report and Recommendation and adopts it as its opinion herein.

Accordingly, Defendant Wellpath, LLC’s Motion for Partial Dismissal is granted and Plaintiff’s

negligence claim against her employer as set forth in Count 4 of her Complaint is dismissed with

prejudice.

       Second, respecting the Report and Recommendation addressing Defendant Sheriff Marlin

Gusman’s Motion to Dismiss, R. Doc. 32, the Court has reviewed the complaint; the parties’

memoranda, including Plaintiff’s consent to dismiss the respondeat superior claim against Sheriff

Gusman related to false imprisonment; and the applicable law. No objection has been filed to the

Report and Recommendation. The Court approves the Report and Recommendation and adopts

the conclusions contained therein for substantially the reasons provided by the Magistrate Judge.

Thus, Plaintiff’s respondeat superior claim against Sheriff Gusman based on Defendant Paul

Griller’s alleged false imprisonment (part of Count 7) is dismissed with prejudice. Plaintiff’s
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claims of negligence (failure to protect in Count 4 and failure to train and supervise in Count 5)

and for respondeat superior liability based on Defendant Griller’s alleged negligence (Count 7) are

dismissed, with leave to amend.

       Conclusion

       IT IS ORDERED that Defendant Wellpath, LLC’s Motion for Partial Dismissal be

GRANTED and that Plaintiff’s negligence claim against her employer as set forth in Count 4 of

her Complaint be and hereby is DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that Defendant Gusman’s Motion to Dismiss is

GRANTED in part and DENIED in part. Plaintiff’s respondeat superior claim against Sheriff

Gusman based on Defendant Paul’s alleged false imprisonment (part of Count 7) is DISMISSED

with prejudice. Plaintiff’s claims of negligence (failure to protect in Count 4 and failure to train

and supervise in Count 5) and for respondeat superior liability based on Defendant Griller’s alleged

negligence (Count 7) are DISMISSED, with leave to amend. Plaintiff is GRANTED thirty (30)

days to file an amended complaint to remedy the deficiencies in her pleading.



       New Orleans, Louisiana, this 3rd day of December, 2021.



                                                     ___________________________________
                                                              ELDON E. FALLON
                                                       UNITED STATES DISTRICT JUDGE
